                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN

  UNITED STATES OF AMERICA,

                          Plaintiff,

                                                        Case No. 25-CR-8-JPS
   v.


  JASON A. WNUK and ADHAM B.
                                                                    ORDER
  BLANDIN a/k/a JAX TELLER,

                         Defendants.


           In this ongoing criminal case, Defendants Jason A. Wnuk and

 Adham B. Blandin a/k/a Jax Teller (“Defendants”) were appointed counsel

 pursuant to the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006A. ECF Nos.

 12, 57.

           CJA protocol permits the Court to delegate approval for expense

 vouchers submitted by counsel in this matter who were appointed

 pursuant to the CJA to a magistrate judge if the Court does so in writing.

 The Court hereby delegates to Magistrate Judge Stephen C. Dries the

 authority to review and approve the Defendant’s attorneys’ CJA expense

 vouchers. Further, in any instance where the approved amount exceeds the

 statutory cap, this Court delegates to Magistrate Judge Dries, in

 consultation with the Seventh Circuit Case Budgeting Attorney and the

 Local Standing Committee, the authority to recommend to the Chief Circuit

 Judge approval of any such voucher submission.

           The review and approval process shall be completed in accordance

 with all applicable statutory and regulatory provisions found in the Guide



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 to Judiciary Policy, Vol. 7 Defender Service, Part A Guidelines for

 Administering the CJA and Related Statutes, Chapter 3: Authorization and

 Payment for Investigative, Expert, or Other Services.

       Accordingly,

       IT IS ORDERED that, in accordance with all statutory and

 regulatory provisions, the Court herewith DELEGATES to Magistrate

 Judge Stephen C. Dries, the authority to review and either approve or

 disapprove any vouchers submitted by CJA-appointed counsel in the

 above-captioned case.

       Dated at Milwaukee, Wisconsin, this 28th day of May, 2025.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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